     Case 1:18-cv-00305-RJJ-PJG ECF No. 20 filed 10/02/18 PageID.95 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT MICHIGAN

MALIBU MEDIA, LLC,                               )
                                                 )
         Plaintiff,                              )    Case No. 18-cv-00305-RJJ-PJG
                                                 )
v.                                               )
                                                 )
NAM NGUYEN                                       )
                                                 )
         Defendant.                              )
                                                 )

                          ORDER ON STIPULATION OF DISMISSAL

         THIS CAUSE came before the Court upon the Parties’ Stipulation to Dismiss all Plaintiff

Malibu Media, LLC’s and Defendant Nam Nguyen’s claims against each other with prejudice,

and the Court being duly advised in the premises does hereby:

         ORDER AND ADJUDGE:


         1. All Plaintiff’s and Defendant’s claims against each other are hereby dismissed with

             prejudice.

         2. Each party shall bear its own attorneys’ fees and costs.

         3. This case is closed for administrative purposes.

         SO ORDERED this ___
                         2nd day of ________________,
                                     October          2018.



                                       By:   /s/ Robert J. Jonker
                                             UNITED STATES DISTRICT JUDGE




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